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                   EX. 133
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  Message

  From:          Belfi, Eric J. [/O=GOODKIN LABATON RUDOFF SUCHAROW/OU=FIRST ADMINISTRATIVE
                 GROUP/CN=RECIPIENTS/CN=BELFIE]
  Sent:          5/17/2010 2:31:39 PM
  To:            tim@cmhllp.com; 'damon@cmhllp.com' [damon@cmhllp.com]
  Subject:       FW: Follow up



  This is one, now we need -
  -----original Message-----
  From: George Hopkins [mailto:georgeh@artrs.gov]
  Sent: Sunday, May 16, 2010 3:51 PM
  To: Brad Beckworth
  cc: Belfi, Eric J.; ATRS Laura Gilson
  subject: Re: Follow up
  I think this is a great plan with a great team. Ghop ------original Message------
  From: Brad Beckworth
  To: Ghop
  cc: Eric J. Belfi
  cc: ATRS Laura Gilson
  Cc: Ghop
  subject: Re: Follow up
  Sent: May 16, 2010 2:37 PM
  Thanks George.
  Eric and I talked and we are willing to work together. We will get the papers prepared and be in touch.

  Have a nice rest of the weekend.
  Brad Beckworth
  Nix, Patterson & Roach LLP
  205 Linda Drive
  Daingerfield, Texas 75638
  (903) 645-7333
  on May 15, 2010, at 9:33 AM, "George Hopkins" <georgeh@artrs.gov> wrote:

  >   I think the decision is so close that I cannot make a choice between
  >   NP and Labaton. The strengths of both firms vary and the combined
  >   firms has great coverage of all concerns. so I have decided to ask
  >   the two firms to seek a joint filing on behalf of ATRS. I have added
  >   both contacts by this email. Let me know if each of you are willing
  >   to work with the other. Ghop ------original Message------
  >   From: Brad Beckworth
  >   To: Ghop
  >   subject: Follow up
  >   Sent: May 15, 2010 9:23 AM
  >
  > Hi George,
  > It was good seeing you Wednesday. I know you had a busy day and
  > appreciate you taking time out for us.
  > I wanted to follow up and see where things stand regarding Hartford.
  >Weare a couple weeks out on the lead plaintiff deadline, so I want to
  > make sure we are ready.
  > I am available to talk this weekend if you'd like (903-235-7709)----I
  > didn't want to call and bother you on a weekend.
  >
  > otherwise, I will try you Monday.
  >
  > Take care,
  > Brad
  >
  >
  >   Brad Beckworth
  >   Nix, Patterson & Roach LLP
  >   205 Linda Drive
  >   Daingerfield, Texas 75638




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  > (903) 645-7333
  >
  >
  >
  > ATRS Executive Director



  ATRS Executive Director




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